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 4
 5   Attorney for Defendant
     Tiffany Pippins
 6
 7
 8                             IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
     THE UNITED STATES OF                               )   No. 2:07-cr-00449-MCE
12   AMERICA                                            )
                                                        )
13                          Plaintiffs,                 )   STIPULATION AND PROPOSED ORDER
                                                        )   TO RESET STATUS CONFERENCE
14          v.                                          )
                                                        )
15   TIFFANY PIPPINS,                                   )
                                                        )
16                     Defendant.                       )
     __________________________________                 )
17
18          Defendant Tiffany Pippins by and through counsel Krista Hart, defendant Jasmin Butts by
19   and through counsel Shari Rusk, and Darcell Epps by and through counsel Timothy Warriner,
20   along with the United States (government) by and through counsel Assistant U.S. Attorney Kyle
21   Reardon hereby stipulate and agree the status conference currently set for May 8, 2008, be
22   vacated and reset to June 12, 2008, at 9:00 a.m.
23          It is further stipulated and agreed between the parties that the period of time from May 8,
24   2008, up to and including June 12, 2008, be excluded in computing the time within which the trial
25   of the above criminal prosecution must commence for purposes of the Speedy Trial Act. All
26   parties stipulate and agree that this is an appropriate exclusion of time within the meaning of Title
27   18, United States Code, sections 3161(h)(8)(B)(iv) (Local Code T4).
28   ///
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 1          The parties in this case have been engaged in settlement negotiations and the government
 2   has provided written plea agreements. The additional time is necessary to review the written plea
 3   agreements with the clients, conduct necessary legal research and, if appropriate, make counter
 4   offers to the government.
 5
 6   DATED: May 6, 2008                                  /s/ Krista Hart
                                                         Attorney for Defendant
 7                                                       Tiffany Pippins
 8
     DATED: May 6, 2008                                   /s/ Shari Rusk
 9                                                       Attorney for Defendant
                                                         Jasmin Butts
10
11   DATED: May 6, 2008                                  /s/ Timothy Warriner
                                                         Attorney for Defendant
12                                                       Darcell Epps
13
     DATED: May 6, 2008                                  McGregor Scott
14                                                       United States Attorney
15
                                                         /s/ Kyle Reardon
16                                                       Assistant U.S. Attorney
17
18                                                    ORDER
19
20   IT IS SO ORDERED.
21
      Dated: May 6, 2008
22
                                                       ________________________________
23                                                     MORRISON C. ENGLAND, JR.
24                                                     UNITED STATES DISTRICT JUDGE

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